Case 1:19-cv-08345-MKV-RWL

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAMANTHA SIVA

ICUMARAN

19 CV 8345

TE AStAR Ghvoue, mc 4/blatmeETRics

Write the full name of each plaintiff.

-against-

CV

(Include case number if one has been
assigned)

LLc COMPLAINT

NORFHLAND ENEEGY TPADWG

lleDGE Sdlu TONS pNC

Do youwwant a jury trial?
Ves CO No

RPicHhARD M. LARKIN

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.

See Federal Rule of Civil Procedure 5.2.

Rev. 1/9/17

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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
L] Federal Question
Diversity of Citizenship

A. Ifyou checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

B. If you checked Diversity of Citizenship
1, Citizenship of the parties

Of what State is each party a citizen?

SAMANTHA SIVA 5 ay
The plaintiff, LD WA AR an ,is a citizen of the State of

(Plaintiff's name) Ta E A SIAR. GIZOT (NC

NEN YoRK

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual: ,
NJOCTHLAND EyERGY TIZADING

ADGE SowTions
The defendant, eee RicHARD - ARKIN _,isa citizen of the State of

(Defendant's name)
New HAmestiee

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If the defendant is a corporation:
ORULAND Eneray TRADING
The defendant, m HEDEE LWLUTGN *_,is incorporated under the laws of

the Stateof AJ Ew HAMP SHIRE

and has its principal place of business in the Stateof NGw HAMPHIRE

or is incorporated under the laws of (foreign state)

and has its principal place of business in SOO. IN. CamimeCOiAl STPE ET

MAN CHESTEK, NH 30]
if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

SAMANTHA SiVA KUMARAN

First Name iddle Initial Last Name
ses nn STAR AEP pc

LA Wesy 4a2°4) Street tt 204

Street Address
NEw YyYoRe Ny 100 23
County, City State Zip Code
646 221 4363 Bamantha 4 tmetickrnisk.com
Telephone Number Email Address (if available) asta (g ap@
La Kod | COW.

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Nat THLAND EW EGY TR ADI NOG LAL-€C

First Name Last Name

Current Job Title (or other identifying information)

Vo NN. CommeraAL  sf26E T

Current Work Address (or other address where defendant may be served)

Natt am ptiRe  MaAncdesfet O30 |

County, City State Zip Code
Defendant 2: HEDGE SQV Tt OW)
First Name Last Name

S00 NN. COMMERCIAL STREET

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

Defendant 3: (2. ICHAR .D LA Rie Gg

First Name Last Name

Preside wt

Current Job Title (or other identifying information)

32 Hersen) cover

Current Work Address (or other address where defendant may be served)

GOFFS Towns NH 310 |

County, City State Zip Code

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Defendant 4:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

Ill, STATEMENT OF CLAIM

Place(s) of occurrence: See Atta Chic_ol Cy nl alr
|

Date(s) of occurrence:

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

Cee Ay O; (Av \e a Cy rnp | Alb 4

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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

~

See Atta Neck  C& rol aikt

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

Cee AW Ac Ay re A Co Vv (? { art

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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must A an IFP application,

2 [6 [2014 WS

Dated —Plaifltiff's Signature—___
SQM G nth oH Siva LU Malan
First Name Middle Initial Last Name
11 NeSk 4204 greet H#20u,
Street Address
New Uavl (UY (gols
County, City State Zip Code .
Li 64¢ aD) u365 AStTalr4yfou g(a) Yealhod .Co ry
Telephone Number Email Address (if available)’ \

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:

Paes 1) No

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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IN THE UNITED STATES DISTRICT COURT
SOUTHTERN DISTRICT OF NEW YORK

THE A STAR GROUP, INC,
d/b/a/ TIMETRICS, and
SAMANTHA SIVA KUMARAN,
Case No:
Plaintiffs,
-against- COMPLAINT

NORTHLAND ENERGY TRADING, LLC
HEDGE SOLUTIONS, INC.,
RICHARD M. LARKIN

Nee ee ee Se Se ee et et ee

Defendants,

Plaintiffs The A Star Group, Inc. d/b/a/ Timetrics (“Timetrics”) and Samantha Siva Kumaran

(“Kumaran”) (herein collectively called “Plaintiffs”) , allege for its complaint as follows:
PRELIMINARY STATEMENT

1. This is a civil action under New York State law for breach of contract, fraudulent inducement,
misapproprialion of trade secrets, unjust enrichment, and common law fraud, seeking
disgorgement of wrongfully-derived profits brought by Plaintiffs against Defendants; the primary
contract at issue is a settlement agreement hereinafter the (“Settlement”) which resolved a prior
dispute filed before this court, which contained provisions which were binding upon Defendants
subsequent to the execution of the settlement.

2. Asalleged more fully below, Defendants breached the contract by retaining the valuable and
proprietary Intellectual Property, which includes without limitation Plaintiff's risk management
tools, trading strategies, designs, models, processes, techniques, algorithms, hedging

methodologies, Timetrics Software and other Confidential Information, (hereinafter “IP”), which

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Defendants explicitly represented and warranted as part of the Settlement that they would not retain
or subsequently use, and which the Settlement explicitly prohibited the retention and use of, as
well as the subsequent reverse engineering, preservation and modification, or in all other ways
subsequent development from principles, methodologies and techniques contained within the
protected IP.

3. As the inclusion of such protections was a vital negotiated term of that Settlement Agreement
and essential to the foregoing, without which Plaintiffs would not have entered into any settlement,
Defendants fraudulently induced Plaintiffs into entering into the Settlement by their knowing and
intentional breach of this term in particular, Defendants’ representation and warranty that they
disclaimed and would not retain, use, duplicate, reverse engineer, or otherwise misappropriate
Plaintiff's IP, or right, title, and/or interest in and to Plaintif?’s IP, was a nullity as of the moment
the Settlement was executed and at no point after execution of the Settlement did Defendants act
to comply with that term of the Settlement, instead knowingly and willingly retaining, concealing,
developing, modifying, and ultimately utilizing Plaintiff's IP.

4. Plaintiffs are entitled to damages for the improper and unlicensed use of the Plaintiff's
valuable IP and service, as well as disgorgement of profits, garnered by Defendant’s improper use
of Plaintiffs valuable Ip and service in the marketplace.

5. Defendant’s conduct additionally should be declared uniawful and enjoined, was intentional,
knowing, with the wanton disregard of Plaintiffs rights, with deliberate intent to deprive Plaintiffs
rights to the of the fruits of their tabor, and rights in and to its IP, and justifies an award of punitive
damages.

JURISDUCTION AND VENUE

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6. Plaintiffs bring this action to recover damages for breach of contract and other causes of action
which arose as of the date that contract was executed, which was in this case the Settlement dated
May 9", 2016. Plaintiffs first uncovered or learned of the breaches and other causes on September
8 2016 and was unaware of the activities until after that date.

7. This Court has jurisdiction pursuant to 28 USC 1332 based upon diversity, as Plaintiffs are
citizens of the State of New York, and defendants are citizens of the State of New Hampshire, and
the amount in controversy exceeds the sum or value of $75,000 exclusive of interest and costs.

8, Venue is proper in this District under 28 U.S.C. 1391(b) in that a substantial part of the events
or omissions giving rise to the claims occurred in this District, and in addition by way of Section

16 of the Settlement, which states “Choice of Forum”: In the event of a breach of this Agreement

or any other dispute arising out of this Agreement, the Parties agree that such dispute shall be

resolved through a court of competent jurisdiction in the state of New York.”
PARTIES

9. Plaintiff The A Star Group, Inc d/b/a Timetrics is a corporation, formed under the laws of the
State of New York, with a principal place of business in New York City, County of New York,
and State of New York. Principle address is 119 West 72? Street, #204, New York NY 10023

10. Plaintiff Samantha Siva Kumaran (“Kumaran”) is an individual residing at 240 West 74%
Street, New York, NY 10023, and a United States citizen..

11. Upon information and belief, Defendant Northland Energy Trading, LLC (“Northland”) is a
limited liability corporation formed under the laws of the State of New Hampshire with its
principal place of business 500 N. Commercial Street, Suite 302A, Manchester, NH, 03101. Upon

further information and belief, Northland’s majority Managing Member and principal owner is

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Richard M. Larkin , a citizen of the State of New Hampshire, who exercises majority and sole
dominion over the affairs over Northland.

12. Upon information and belief, Defendant Hedge Solutions (“Hedge”) is a corporation formed
under the laws of the State of New Hampshire with its principal place of business 500 N.
Commercial Street, Suite 302A, Manchester, NH, 03101. Upon further information and belief,
Hedge is an affiliate of defendant Northland, with which it shares a common owner, Richard
Larkin who exercises sole dominion and control over the affairs over Hedge.

13. Richard M. Larkin (“Larkin) is an individual residing at 32 Helen Court, Goffstown, New
Hampshire and upon information and belief is the 100% owner and President of Hedge Solutions
and the CEO and Managing Member of Northland Energy Trading, LLC with majority of the
membership interest. Upon information and belief, Larkin exercises sole dominion and control
over both entities, and is an agent of both Northland Hedge.

14. All of the acts, omissions, self-dealing, misrepresentations, and conduct to bind Northland,
and Hedge were the acts, omissions, representations, self-dealing and conduct of Richard M.
Larkin, acting in hits personal and individual capacity, and also as their agent and/or principle,
CEO and President and/or Managing Member of the Company(s), and further made payments of
personal checks from his individual bank accounts on behalf of representations made on behalf of
the Company(s) Northland and Hedge, and made representations and promises of firtures payments
to Plaintiffs from Northland and Hedge, in consideration of his own personal gaim, and interests

and for the purposes of claims asserted against him individually and personally in this Complaint.
FACTS

15, Onor around approximately May 9", 2016, Plaintiffs in the instant case entered into a “Mutual

Release and Settlement Agreement” (hereinafter the Settlement”) with Defendants in the instance

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case, who were also parties to the same agreement. That agreement arose out of and resolved an
action initiated by Plaintiffs in the New York State Supreme Court. County of New York,
designated case number 651629/2015, and thereafter removed to the United States District Court
for the Southern District of New York, there designated as case number 15-cv-04660. The
Settlement is attached hereto as Exhibit 1.
16. Among the several provisions of the Settlement, Section 4 established that although several
“Engagement Contracts” at issue in the underlying lawsuit would be terminated pursuant to the
Settlement, “the Parties agree, however to the intellectual property and related provisions set forth
on Exhibit A, attached hereto and made a paxt hereof, which provisions shall survive. “In
particular, Defendants Northland and Hedge, “represented and warranted” as follows:
{T]hat neither of them has in their possession any of the Timetrics software
that was involved in the Lawsuit (“The Timetrics Software”); they each
agree that The A Star Group owns the Timetrics Software, and hereby
disclaim and shall not retain or asset any right, title or interest in and to the
Timetrics Software and they each agree not to use, duplicate, reverse
engineer or otherwise misappropriate any Timetrics Software, and that they
are not using and will not utilize in the future any strategies learned from
the trading recommendations from the Timetrics Software to improve NT
Parlies trading or hedging revenue and/or any other consulting
recommendations provided by Timetrics under the Engagement Contract to
improve NT Parties trading or hedging revenues.
17. “Timetrics Software refers to a proprietary suite of various enterprise risk management and
analytic technologies, the underlying quantitative processes and analytical engines, methods,
techniques, for hedging and managing risk, and mathematical algorithms developed by Samantha
Siva Kumaran for use in creating new hedging strategies for exchange traded commodity

derivatives, primarily in markets for oil and natural gas futures, electricity transmission contracts,

and other energy futures.”

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18. The hedging strategies, know-how, methods, processes, and proprietary information and IP
including but not limited to the Timetrics Software are the valuable trade secrets of Plaintiffs.

19, Samantha Siva Kumaran, is a British born, U.S. Citizen, who has had over twenty years’ risk
experience in the risk management software and services sector, in the financial services and
energy industry as a professional risk management consultant, and has earned First Class Honors
Masters and Bachelors in Applied Math and Theoretical Physics, from University of Cambridge’s
Trinity College, UK Her businesses are minority-woman-owned small businesses.

20. Samantha Siva Kumaran passed the Series 3 on or about July 1, 2016 and became a registered
commodities trading advisor CTA on April 4" 2017.

21. Ms. Kumaran developed the Trade Secrets and its business Timetrics over a period of 25
years, since founding her company in 1993, Samantha Siva Kumaran is the sole owner and has
developed and owns the Timetrics software, service and products which were developed over
decades to calculate enterprise wide risk management. Plaintiffs, through Kumaran’s specialized
and unique math expertise, has charged significant consulting fees and commercial license fees to
clients and customers for the use, access and design of these proprietary tools, which provide a
competitive advantage in the market place.

22. Samantha 8. Kumaran is also the sole owner of the Timetrics Software and all associated trade
secrets, including under assignment from and license to The A Star Group, Inc.

23. Samantha Siva Kumaran’s risk management consulting experience, has primarily been in the
Energy and Commodities sector, and includes oversight of risk management departments,
development of customized risk management, hedging and risk management analytics and
software, risk audit, development of advanced market risk measures for trading floors, and

advanced derivatives and options strategies to mitigate risk and increase revenue. Ms. Kumaran

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spent several years as the Chief Risk Officer at Niagara Mohawk Energy Marketing, Inc in
Syracuse, responsible for deployment and enforcement on all aspects of Enterprise Wide Risk
Management, and reporting on a C-level.

24. In 2018, Timetrics was featured as a Top 10 Enterprise Trading Risk Management ETRM
risk management service provider and solution in CIO Insights.

25. Plaintiff's products and services, include Timetrics Software, customized risk management
strategies, designs, reports and license to their IP. Plaintiffs’ IP were designed and built over
decades by Kumaran, and substantial time, money, reséarch, development and highly-specialized
skills, that are not easy to find, were used to design and compile the programs and to generate the
math algorithms and output, to give Plaintiffs a commercial competitive analytical advantage.

26. At all times Plamuffs have protected this information under strict Non-Disclosure
Agreements, non-compete and non-reverse engineering provisions, requiring the signing of
express confidentiality agreements, and protecting its use and dissemination, and further took steps
to rarely disclose the information. Plaintiffs do not disclose the trade secrets, except under the
express rubric of its own restrictive non-disclosure agreement. Further Plainitffs restrict access to
all its Confidential Information on its servers, inchiding but not limited to password access,
restrictive access to drives.

27. Defendants acknowledged in agreements, that Plaintiffs’ IP shail be considered without exception
Confidential and Proprietary Information of Plaintiffs.. and they further acknowledged and agreed that
Plaintiffs IP constitutes trade secrets, Confidential and/or Proprietary Information of Plaintiffs and
its suppliers, licensors or subcontractors.. including further acknowledgement that Plaintiff's IP is
the competitive intellectual property of Plaintiffs and is the crux of commercial value and sale

price of Plaintiffs’ business models and services.

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28. Plaintiffs began, in 2011, to license the trade secrets, proprietary methods, techniques,
methods, and software suite under express “Non-Disclosure Agreements”, for licensees, the
above-referenced lawsuit involved allegation of non-payment of various fees involved for the
licensing of the Timetrics Software to particular Defendants, who are the same as the name
Defendants in the instant case. The Settlement resolved any and all such claims, subject fo,
however, the above representation that Defendants were bound to honor the Intellectual Property
rights of Plaintiffs in the several ways outlined above, but generally to concede Plaintiffs’
ownership of the various aspects of Plaintiffs Intellectual Property, to not retain or use Plaintiffs’
IP, and to not subsequently attempt to duplicate, reverse engineer, or otherwise misappropriate the
property of Plaintiffs on an ongoing basis, as the Defendants generally acknowledged that the
hedging strategies, software, programs, design, techniques, methods and models of Plaintiffs
encompassing their IP and Timetrics Software were valuable trade secrets, designed to improve
revenue and profitability of clients, and from which Plaintiffs derived substantial economic value.
29. The several in-depth "Intellectual Property Provisions” to which Defendants agreed were
attached to the above referenced Settlement on Exhibit A.

30. The Settlement acknowledge in Section 9 that Defendants “have carefully read this
Agreement, and understand its terms and conditions without reservation[,]” of which “Exhibit A”
was a constituent part of the terms and conditions of the whole agreement.

31. Subsequent to the execution of the Settlement, Defendants and Plaintiff continued to engage
in business together, in part because Defendants had previously, and were willing to continue to
provide Plaintiffs with staff, infrastructure and capital in exchange for services. However, at no

point subsequent to the execution of the Settlement did Plaintiffs re-license or otherwise permit or

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warrant Defendants right, title or interest, to utilize their IP or Timetrics Software, without
compensation to Defendants.

32. On or around September 8" 2016, as a result of both in person discussions and emails, in
particular in an email dated September 8" 2016, Plaintiff Kumaran learned that Defendant had
continued to utilize, and was presently using protected Plaintiffs’ IP, as countenanced by the prior
Settlement, without a license. Particularly, Plaintiffs discovered that Defendants had not retained,
but created derivative techniques, processes, methods, software, hedging strategies of Plaintiff's
IP, in part by first obtaining or inducing disclosure under restrictive non-disclosure agreements,
retaining protected Plaintiffs IP, and elsewhere by reverse-engineering other aspects of Plaintiffs
IP which were not retained subsequent to the Setticment; and for both prior to and subsequently
modifying, and internally developing and improving upon the models to create similar models and
methods and to adapt the principles and methods originally encompassed by and covered within
the terms of the original Settlement concerning Plaintiff's IP.

33. The above-reference course of action was in violation of the Settlement agreement,
constituted a breach of confidentiality and unlicensed use which Defendants had explicitly
represented and warranted they would discontinue, and whereby Plaintiffs were damaged by the
improper use and disclosure of their valuable IP and the profits derived from its use.

34. On information and belief, Plaintiffs learned that Defendants had — through the use of
Plaintiffs’ IP and the modified and similar developed processes, methods, analytics tools, strategies
and software ~ profited in excess of $1 million dollars, through the present date, by utilizing the
analytics and hedging strategies generated in Defendants’ business operations, to trade

commodities and energy futures.

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35. On information and belief, given Defendants’ acknowledgement of careful reading and full
understanding of the terms of the Settlement and the subsequent retention of the protected
Plaintiffs IP, in derogation of the terms, Defendaat’s course was willful, knowing, and purposeful;
in addition, Defendants subsequent development, modification, and reverse engineering of the
Plaintiffs’ IP, Timetrics Software, strategies, designs, processes, models, analytics, aud software
was concealed from Plaintiffs in order to be successtully implemented by Defendants as a trading
and hedging strategy.

36. Specifically as part of the fraudulent conduct, in meetings had at Margot Café at 230 West
74™ Street, New York, NY on or around May 7" 2016, Larkin net with Kumaran in person and
continued to make false statements and representations that Plaintiffs were not using revised
hedging strategies and reverted back to their old methodologies. Such states were false at the outset
and contained material omissions about the real business activities which was being concealed by
Defendants to induce the Settlement.

37. Defendants, in full knowledge of the duties imposed upon Defendants by the prior Settlement,
fraudulently concealed their improper retention, subsequent development modification, and
reverse-engineering of the Plaintiffs models, analytics, methods, techniques and software from
Plaintiffs until approximately September 8", 2016.

38. As stated in Section 15 of the Settlement, “fany] dispute arising out of this Settlement shall
also be governed by the laws of the State of New York.”

39, Subsequent to the Settlement in or around early September 2016, the parties agreed to
formulate new business agreements, with Larkin acting in his personal capacity, as a party to those
arrangements. In these arrangements, the Larkin made promises to provide additional capital to

Kumaran, in the launch of various new businesses and affiliates and also represented and as a

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bilateral part of that agreement, represented and agreed Defendants Northland and Hedge would
also make payments and renumerations to Plaintiff and in exchange Plaintiffs continued services,
software and access to their IP and trade secrets.

40. Ali discussions, disclosure and confidential dealings related to the new business arrangements
were made pursuant to a confidential agreement, which was executed on March 21st, 2011 that
the parties entered into an executed Timetrics Non-Disclosure Agreement (“Yimetrics NDA’’)
attached hereto, which terms and conditions remain in full force and effect in perpetuity as defined
under Section 4 and otherwise defined therein, and survived and remain in effect (See Exhibit 2)
41, While Plaintiffs have performed ail its obligations under the Timetrics NDA, it was also
learned on or about or after September 8", 2016, Defendants were knowingly in breach of the
following specific provisions of the Timetrics NDA, including but not limited to (i) Section 2.b
(ii) Section 3a and Section 3.b (iii) as well as other obligations contained therein to protect and
not-use Confidential Information. Defendants, via the CEO Larkin, however continued to assure
Plaintiffs that compensation was forthcoming, and royalties, license fees and other renumeration
would be made effective immediately between the period September 2016 until March 2017 and
also in full reinstatement of previously foreseeable renumerations after April 2017, to continue to
induce further disclosure of IP and trade secrets.

42. These telephonic phone calls and emails that occurred on September 8" 2018, and September
9 2018 and numerous other days and times in the month of September and October 2016, Richard
M. Larkin phoned Plaintiffs from either his office or home located at 32 Helen Court, Goffstown,
New Hampshire using his cellphone to Ms. Kumaran who received the phone calls on the
telephone number who was located at her home and office located at 240 West 74" Street, New

York, NY. 10023.

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43. Plaintiff also alleges that numerous telephone communications occurred during the period
September 2016 and December 2017, including meetings at the Marriott Hotel, located in New
York City and at the Tavern on the Green in New York City.

44. As part of the new business arrangements, Larkin agreed and represented and promised that
in his personal and individual capacity, that in exchange for Larkin’s personal payments, and
capital contributions, Defendants would make numerous renumerations of compensation for
services, salary bonuses, software, license and Plaintiff’s IP, including but not reinstate various
engagement contracts effective April 2017 at previously agreed upon commercial terms and rates
from Northland and Hedge.

45, In or around September 2016 and during numerous phone calls and emails therefore, Larkin
represented that Defendants would honor numerous compensations agreements, salary bonus
structures and reinstatement of software license fees, in exchange for services, and substantial
profit sharing in hedging improvements.

46. However, again manifesting this pattern of deceit, this representation were false at the onsite.
Larkin, acting in his capacity as CEO Of Northland and President of Hedge Solutions, when he
these material representations, Larkin was concealing his material representations and business
transactions from other employees, officer, directors, including the Controller, CCO and others, in
potential violation of the law and the regulatory framework under which his business operates.
47. Larkin, acting in his capacity as CEO of Northland and President of Hedge Solutions, falsely
made those material representations to Plaintiffs to induce Plaintiffs to continued to provide IP and
disclose services and software, and knew at the onset his representations were false, and that
Northland, by his fraudulent concealment of the activity had no intention of paying Plaintiffs for

their work.

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48. Defendants have a long standing policy of deceptive business practices, and concealing
information from others, and a record of reguiatory and compliance violations.

49. These misrepresentations were made for the purpose of inducing Plaintiffs entering into the
continued services under an “Implied Agreement” — with compensation being paid directly by
Larkin personally in binding of Northland and Hedge, and to continue to disclose more IP, trade
secrets, and confidential information and continue providing services, software, design
improvements, trades, contributions to Defendants, that were subsequent to the Settlement, and
such services. Manifestation of Larkin’s assent to the implied agreement, includes but not limited
to his personal initial payments from his personal bank accounts, and numerous emails and
communications between Larkin and Kumaran documenting the extensive services, software,
labor, risk management and hedging techniques and improvements of financial value provided to
Defendants.

50. Given the short deadlines that Defendants represented were for the trading live durmg the
months of various activities at Northland during September 2016-March 2017, Plaintiffs
accelerated its timeline to provide services, software, risk management and hedging techniques
and improvements of financial value to Defendants reliant on the compensations schedules.

51. Further, reliant on the representations, Plaintiffs during the period September 2016 until
March 2017 continued to provide excessive hours, labor, manpower, services, software and other
upgrades, design and recommendation in hedging strategies to Northland, and disclose IP,
Confidential Information and Trade Secrets, to Defendants, reliant on the promises of
cvenumeration.

52. All services were performed in the City of New York and State of New York. Larkin

personally met with and conferred with Plaintiffs Kumaran in the City and State of New York,

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further manifesting his assent to these services at meeting including but not limited to The View
in Times Square on August 4" 2016, The Marriott Hotel on West 57" Street on December 14
2016, and Tavern on the Green on December 14" 2016, At these times and dates and locations,
including at numerous emails and telecommunications, made to Kumaran’s residence in New York
City, further making fraudulent representations about his payments, Larkin made repeated
promises and representations of personal contributions and payments to Kumaran and Plaintiffs.
53. Further all payments were made by Richard Larkin personally, from his individual bank
account to Kumaran’s affiliates, and fedexed to locations in New York City, in order to conceal
the business dealings from Northland and Hedge. Further his pattern of material obfuscations and
concealment, including making various payments to third parties, including a Jonathan Flak, on or
around December 14"", 2016, in cash (so as to avoid a paper trail) in New York City, at the Marriott
Hotel on West 57" Street, as part of his manifestation to “conceal” and deceit and
misrepresentations to Northland and Hedge of his true conduct.

54. Further, Plaintiffs reasonably relied on Larkin’s representations in deciding to enter into the
further services under an Implied Agreement, and proceeding to provide services, software, risk
management and hedging upgrades and techniques, disclose further IP, and dilute its time
management from the other activities to assist Defendant’s business, reliant on the cashflow and
revenue incentive compensations that were promised by Defendants.

$5. Plaintiffs had been engaged by Defendants before for a period of about four (4) years, and
reasonably expected these payments to be made, under the terms of the previous Software License
Agreements, and Consulting Services agreements which were to be reinstated.

56. Plaintiffs fulfilled their obligations under the Implied Agreements and Timetrics NDA,

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57. Further with reckless disregard for the truth, it is clear that Larkin and Defendants had no
intention of making payments to Plaintiffs as Larkin and Defendants were not willing to comply
with the FCM’s regulatory compliance laws, was acting with concealment and deceit from
Northland employees, officers and directors, and had no intention of properly compensating
Plaintiffs, but utilizing the services for his self-gain, profit and benefit and self-dealings in the
Northland company.

58. Therefore Defendants knew at the onset that his representations were false, and that
compensations through Northland and Hedge could not have been made, and intended to deceive
Plaintiffs to induce free services, wrongfully acquire by fraudulent inducement more trade secrets
and their valuable IP, Confidential Information, provide services and proceed with the Implied
Agreement, while all the time increasing profits and revenue to Defendants. Emails during this
period of time, evidence Plaintiffs providing proprietary risk mitigations techniques in excess of
$700,000 of benefit to Northland and Hedge, reliant on Larkin’s promises and representations.
59. Larkin in or around November 2" 2018, in bad faith, then breached the Implied Agreements,
continued to unilaterally change the terms of compensation, after services were provided, and
proceeded to use and incorporate and retain the benefits of the services and disclosed IP without
compensation to Plaintiffs. Defendants knew that Plaintiffs and Kumaran would be financtaily
harmed, as they were reliant on the representations of numerous financial contributions to launch
new businesses, and had already agreed via various Implied Agreements,

60. Defendants knew that Plaintiffs would suffer substantial financial losses, Since Defendants
represented they would be makmmg significant financial capital contributions to launch various new
businesses, with fully calculable monetary rewards and profits incentives, and by withdrawing

those incentives, Plaintiffs would not be able to reap the fruits and benefits of their excessive hours

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of labor or launch the businesses under the timelines contemplated, causing operational losses and
delays.

61. Defendants actions were with wanton and disregard for Plaintiff's right, and with willful
intention to harm Plaintiffs’ businesses, as well as its affiliates, if it did not meet commercially
unreasonable demands, continue excessive hours of work, without compensation and signed
agreements, Further Defendants, in bad faith, have threatened to breach numerous confidentiality
provisions, related to Kumaran’s other businesses, as retribution and retaliation, should Plaintiffs
pursue action against them,

62. Plaintiffs have been harmed by non-payment of the various compensations contemplated in
the Implied Agreements, while Defendants have retained the benefits from and profited from the
services, discounts, software license and disclosure of IP provided to them thereunder in amounts
in excess of $1 million dollars.

63. To this date, Defendants have continued to retain the benefits of the IP, services, software,
trade secrets and other benefits fraudulently procured by Plaintiffs, and have failed to honor their
end of the compensation schedules, and continued to this date, their breaches of the Settlements
Agreement and Non-Disclosure Agreements. Defendants have therefore been unjustly enriched at

the Plaintiffs’ expense.

FiRST CAUSE OF ACTION
BREACH OF CONTRACT

64, Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein.

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65. The Settlement dated May 9", 2016 was a valid and binding contract upon all parties,
including Defendants, supported by adequate consideration.

66. Plaintiffs fully performed all duties and obligations under the contract.

67. Defendants represented and warranted that they did not have im their possession and would
not retain, or use, or modify, reverse engineer, or otherwise misappropriate Plaintiffs’ IP, as
previously and further described by the full language of the contract contained within Exhibit 1,
attached hereto.

68. Defendant’s materially breached the contract by violating the several provisions concerning
the Plaintiffs’ IP and specifically by retaining, using, modifying, reverse engineering, and in other
ways misappropriating Plaintiffs’ IP, in derogation of their express representations and warranties
contained within the contract.

69. Defendants, through their retention, modification, and use of misappropriated Plaintiffs’ IP,
profited while engaging in trading commodities and futures, as a direct and proximate result of the
improper use of the Plaintiffs’ IP, and Plaintiffs improper development and modification thereto,
those profits were in an amount not yet fully ascertained, but believed to be not less than $1 million
to be determined at trial.

70. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,
but believed to be in excess of $1million dollars.

71. In the alternative, by reason of the foregoing, Plaintiff is entitled to disgorgement of any and
all profits, improperly derived from Defendant’s breach of contract, in an amount to be determined
at trial, but believed to be in excess of $1 million.

72. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has

caused Plaintiffs damages and irreparable harm.

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73. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

SECOND CAUSE OF ACTION
FRAUDULENT INDUCEMENT

74, Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,
supra, as if fully set forth at length herein.

75. “The elements of a claim for fraudulent inducement are :1) a false representation of material
fact, 2} known by the utterer to be untrue, 3) made with the intention of inducing reliance and
forbearance from further inquiry, 4) that is justifiably relied upon and 5) results in damages!

76. Defendants represented and warranted that they did not have in their possession, and would
not retain, or use, modify, reverse engineer, or otherwise misappropriate the Plaintiffs’ IP, as
previously, and further described by the full language of the contract contained within Exhibit 1,
attached hereto,

77, Defendants knew, however, that Defendants did have the Plaintiffs’ IP in their possession.
78. Defendants made this representation in order to induce Plaintifis to agree to and execute the
Settlement.

79. Defendants, through their retention, modification, and use of misappropriated Plaintiffs IP,
profited while engaging in trading commodities and futures and as a direct and proximate results

of the improper use of Plaintiff's IP, and Defendant’s improper development and modification

1 MBIA Ins. Corp v. Credit Suisse Securities (USA) LLC No. 603751/09 927 NLY.S. 2d 517, 530, 32 Mise, 3d 758,
773, 20L1 NY. Slip Op. 21191, 2011 WL 2162811 (Sup Ct, June 01,2011)

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thereto; those profits were in an amount not yet fully ascertained, but believed to be not less than
$1 million to be determined at trial,

80. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,
but believed to be in excess of $1 million.

81. Inthe alternative, by reasons of the foregoing, Plaintiff is entitled to disgorgement of any and
all profits improperly derived from Defendants’ fraudulent inducement, in an amount to be
determined at trial, but believed to be in excess of $1 million.

82. Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

83. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly
reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

PRURD CAUSE OF ACTION
FRAUD (COMMON LAW)

84, Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,
supra, as if fully set forth at length herein,

85. The elements of a cause of action for fraud require a material representation of a fact,
knowledge of its falsity, an intent to induce reliance, justifiable reliance by the Plaintiff and
damages. *

86, “Where a cause of action or defense is based upon misrepresentation, fraud, mistake, willful
deceit, breach of trust or under influence, the circumstances constituting the wrong shall be stated

in detail.’”?

? Eurycleia Partners, LP v. Seward & Kissel, LLP 910 N.E, 2d 976, 979, 883, N.Y.S.2d 147,150, 12 N.V.3d 553,559

[NY 2009]
INLY, CPLR 306 (McKinney 2018) (“Particularly in specific actions”)

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87. Defendants represented and warranted that they did not have in their possession, and would
not retain, or use, modify, reverse engineer, or otherwise misappropriate Plaintiff's IP, as
previously and further described by the full language of the contract contained with Exhibit 1,
attached hereto.

88. Defendants knew, however, that Defendants did have Plaintiffs IP in their possession.

89. Defendants made this representation in order to induce Plaintiffs to agree to and execute the
Settlement.

90. Plaintiffs in reliance on Defendant’s representations, did in fact agree to and execute the
Settlement.

91. In the alternative, by reason of the foregoing, Plaintiff is entitled to disgorgement of any and
all profits, improperly derived from Defendants’ fraud, in an amount to be determined at trial, but
believed to be in excess of $1 million.

92, Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

93. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

POURTH CAUSE OF ACTION
MISAPPROPRIATION OF TRADE SECRETS

94. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs
as if fully set forth at length herein.
95. The Plaintiffs IP as well as-its risk management strategies, hedging techniques, know-how,

methods, models processes and techniques constitute trade secrets and confidential and proprietary

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information. Plaintiffs have maintained this information in confidence and it is not generally
known to other persons or the public who could obtain economic value from the disclosure or use
of such information. This information is a valuable asset of Plaintiffs and has independent
economic value,

96. Recipients have acknowledged and identified that Plaintiffs possessed trade secrets that
shared under agreements of obligations of confidences, were shared with Defendants and were the
cx of Plaintiffs commercial value.

97, Plaintiffs’ IP are (1) non-public information; (2) protected by reasonable measures; and (3)
and which derive independent economic value from not being known to other persons*

98. To succeed on a claim for misappropriation of a trade secret under New York Jaw, a plaintiff
“must prove: (1) it possessed a trade secret, and (2) defendant is using that trade secret in breach
of an agreement, confidence, or duty, or as a result of discovery by improper means.”* New York
generally looks to section 757 of the first Restatement of Torts for its definition of a trade secret.®
99, Under this definition, a trade secret is “any formula, pattern, device or compilation of
information which is used in one's business, and which gives him an opportunity to obtain an

advantage over competitors who do not know or use it.” Restatement of Torts § 757 cmt. b, at 5

(1939) (quoted in Ashland, 82 N.Y.2d at 407, 624 N.E.2d at 1013, 604 N.Y.S.2d at 918). “[I]t is

4 See New York law (see e.g., Schroeder y. Pinterest, 133 A.D.3d 12 (2015); and the Defend Trade Secrets
Act “DTSA”), 18 U.S.C. §§ 1831, er seq,

° Integrated Cash Mgmt. Servs., Inc. v. Digital Transactions, Inc., 920 F.2d 171, 173 (2d Cir. 1990) (citation
and quotation marks omitted) (citing cases and Restatement (First) of Torts § 757 cmt. b (1939) (quoted in
Ashland Mgmt. v. Janien, 82. N.Y.2d 395, 407, 604 N.Y.S.2d 912, 624 N.E.2d 1007 (1993) )).

§ See Ashland Management Inc. v. Janien, 82 N.Y 2d 395, 407, 624 N.E.2d 1007, 1012, 604 N.Y.S.2d 912,
917 (1993); Delta Filter Corp. y. Morin, 108 A.D.2d 991, 992, 485 N-Y.S.2d 143, 144 (3d Dep't 1985) (per
curiam); see, e.g., Eagle Comtronics, Inc. v. Pico, Inc., 89 A.D.2d 803, 453 N.Y.S.2d 470 (4th Dep't 1982),

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not simply information as to single or ephemeral events in the conduct of the business”; rather, it
“is a process or device for continuous use in the operation of the business.” Id.

100. In particular, Plaintiffs’ IP derives independent economic value, actual or potential from not
being generally known to other persons, who can obtain economic value from its disclosure or use.
of the information. Plaintiffs took and takes reasonable measures to maintain the secrecy of
Plaintiffs’ IP. Such measures include, but were not limited to: (1) limited access to confidential
information; (2) requiring third-parties to execute strict non-disclosure agreements before being
allowed to access the information; and (3) requiring passwords for access to such information.
101. Defendants misappropriated Plaintiffs IP by deliberate actions which include but not limited
to : (1) the acquisition of Plaintiff's IP using improper means, including by fraudulent inducement
of various agreements including the Settlement Agreement and Implied Agreements (2) breach of
their confidential relationship with Plaintiffs to maintain the secrecy and restrictive covenants of
Plaintiff's IP, including but not limited to the restrictions and confidential obligations in the various
non-disclosure agreements and Settlement Agreement; (3) ongoing use and profit of Plaintiffs IP
for their own economic benefit without the express or implied consent of Plaintiffs; all in violation
of New York law, and the Defend Trade Secrets Act “DTSA”.

102. Based on the wiliful and intentional misappropriation of Plaintiffs’ IP: (1) Defendants should
be enjoined from any further use and/or disclosure of Plaintiffs’ IP until such time that no further
commercial advantage that would be derived from the misappropriation of Plaintiff's IP; (2)
Plaintiffs should be awarded damages including actual losses and a disgorgement of unjust
enrichment caused by the misappropriation ; (3) an equitable accounting for all profits or

benefits arising out of such breach (4) exemplary damages including but not limited to all

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special, indirect, punitive, consequential or other damages; and (5) all other remedies in equity
and law, including recovery of its costs and legal fees.

103. Further, since Defendants have utilized and disseminated trade secrets across state lines,
where disclosures were made and accessed from Plaintiff in New York, and New Hampshire
Defendants are liable for misappropriation across interstate lines of commerce under the Defend
Trade Secrets Act.

104. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has
caused Plaintiffs damages and irreparable harm.

105. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

FIFTH CAUSE OF ACTION
MISAPPROPRIATION OF CONFIDENTIAL INFORMATION

106, Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,
supra, as if fully set forth at length herein.

107. Defendants only had access to the Plaintiffs’ IP because of therelationship between the parties,
which was governed expressly by confidentiality restrictions, including but not limited to those in
the Settlement. Defendants did not have access to the same information without this relationship
because otherwise they would not have the “guidance” and reference from which to migrate their
hedging strategies, and build trading strategies, methods, techniques, processes, models with

similar functionality and design to the Plaintiffs IP, and improve profits,

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108. The primary focus of a misappropriation of confidential information claim is "the relationship
of the parties at the time of disclosure and the intended use of the information". ID. Thus, it is the
parties' relationship and expectations that are key, whereas for a trade secret claim the focus is on
the nature of the information that a party secks to protect. (see MCS vs. Dell Opinion) Defendants
did not have access to the same information without this relationship with Plaintiffs, because
otherwise they could have created their product without the necessity of engaging with or requiring
disclosure from Plaintiffs,

109. Plaintiff also asserts misappropriation of other Confidential Information, for Defendants
unjust enrichment and gain, 3ven if information at issue is (in part) publicly available, and so does
not "rise to the level of a trade secret" it may still be protectable as confidential and proprietary
information. (Lamorte ys. Burns NJ), The contracts also clearly specified that the terms and
payment of licensee fees under which the contracts were materially negotiated were under a
confidential license, including the output of the software.

110.Further Defendants are in the competitive risk management business, and offer their use
provides a competitive benefit, at the expense of Plaintiffs. Further they breached their independent
duties of confidentiality to protect and not use the information. Finally Defendants have
misappropriated Plaintiff's IP for their own personal benefit. Plaintiff also alleges that Defendants
have been unjustly enriched based upon the misappropriation of the Confidential Information. ’
111. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harm.

7 SRM BEAUTY CORPORATION, Plaintiff, v. SOOK YEN LOH and Trendy Beauty Spa, Inc.,
Defendants. No. 20273 2010.Feb. i4, 2011.

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112. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

SIXTH CAUSE OF ACTION
UNJUST ENRICHMENT

113. Plaintiffs repeats and realleges each and every allegation set forth in the foregoing paragraphs
as if fully set forth at length herein.

114. Defendants have profited over $1 million a year, and retained other economic value and
benefit, including but not limited to non-payment of Plaintiffs for services, license fees, royalties
and profit sharing commissions, as well as incurred other cost savings, other renumeration and
benefits. and without fair and just compensation to the Plaintiff for its misappropriation and
violations of the Settlement,

115, Further, both prior to and subsequent to the Settlement, Defendants have incorporated system
design improvements, software functionality features, methods, processes and techniques, and in-
house models, under express restrictions of doing so, reliant on the Defendant’s promises of
renumeration under an Implied Agreement. Plaintiff has not received compensation for such
services, software, IP royalties, licensee fees or royalties, for the performances made after
September 2016, yet Defendant’s have benefitted in amounts in excess of $1 million dollars.

116, Under New York law, a plaintiff has stated a claim for unjust enrichment when it alleges "(1)
that the defendant benefited; (2) at the plaintiff's expense; and (3) that equity and good conscience

require restitution." ° The essential fact necessary to prove such a claim is that “one party has

® Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000) (citation and internal quotation marks omitted);
accord Paramount Film Distrib. Corp. v. State of N.Y., 30 N.Y.2d 415, 421, 334 N.Y.S.2d 388, 2 N.E.2d
695 (1972) ("The essential inquiry in any action for unjust enrichment or restitution is whether it is against
equity and good conscience to permit the defendant to retain what is sought to be recovered."), cert. denied,
414 US, 829, 94 3.Ct. 57, 38 L.Ed.2d 64 (1973).

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received money or a benefit at the expense of another." Kaye, 202 F.3d at 616 (citation and internal
quotation marks omitted)

117. The equitable doctrine of unjust enrichment rests, generally, on the principle that a party
should not be allowed to enrich himself at the expense of another. 7Under New York law, a plaintiff
seeking an equitable recovery based on unjust enrichment must first show that a benefit was
conferred upon the defendant, and then show that as between the two parties enrichment of the
defendant was unjust. !°

118. Plaintiff may plead this cause, in the alternative since unjust enrichment applies even where
the parties have an express contract if? (1) the plaintiff cannot recover under the contract because
the plaintiffis guilty of breach of contract, and (2) the defendant would nevertheless be unjustly
enriched by keeping the plaintiff's services or money without some payment.!!

119, Defendants, jomtly and severally, have wrongfully profited from its misappropriation and has
caused Plaintiffs damages and reparable harm.

120. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly
reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

SEVENTH CAUSE OF ACTION
PROMISSORY ESTOPPEL

121. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein.

9 Miller v. Schloss, 218 N.Y. 400, 113 N_E. 337 (1916).

0 See Indyk v. Habib Bank Ltd., 694 F.2d 54, 57 (2d Cir.1982). Reprosystem, B.V. v. SCM Corp.,
727 F.2d 257, 263 (2d Cir. 1984)

© Vines y. Orchard Hills, Inc., 181 Conn. 501, 435 A.2d 1022, 1028 (1980) Fabri v. United
Technologies Int'l, Inc., 387 F.3d 109, 128 (2d Cir. 2004)

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122. To establish a promissory estoppel it must be shown that the Defendant made a clear and
unambiguous promise upon which the plaintiff reasonably relied to his or her detriment”.!?

123. Plaintiffs allege that they relied on repeated promises of payment by Defendants, including
but not limited to after the Settlement, foregoing other work so that they could devote a substantial
number of man hours” towards work for Defendants, including disclosing valuable system designs
model improvements, and hedging strategies Defendants promises of compensation, were relied
upon, in order for them to have performed such services, software, IP, and other contributions of
value to Defendant’s business. Defendants made numerous promises of Payments, in or after
September 2016 upon which Plaintiffs relied, prior to engaging in further business dealings with
them. Injustice can be avoided only by enforcing Northland’s promise of payment,

124. After the Settlement Agreement, Plaintiffs provided a variety of services, software licenses,
and work product, and disclosed irade secrets and confidential information over a four to six period
with a reasonable expectation of remuneration that never materialized. Defendants on the other
hand, retained the benefit of those services, including recommendations that increased profits and
improved hedging and risk management in amounts in excess of $1 million dollars.

125. Defendants benefitted materially from Plaintiffs services, and that, as a result of multiple
emails, phone calls and verbal assurances between Plaintiffs invested significant resources in
Northland, relying on the promise and prospect of compensation. These allegations give a
factfinder a basis to find Northland liable under one or more of the quasi-contract theories alleged,

including but not limited to promised compensation and return of license fees.

? (Roufaiel y. Ithaca Coll, 241 A.D.2d 865, 869, 660 N.Y.S.2d 595 [1997] [citations omitted];
see Bunkoff Gen. Contrs. v. Dunham Elec., 300 A.D.2d 976, 978, 753 N.Y.S.2d 156 [2002] ). )

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126, Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

127. Defendants, jointly and severally, conduct was imtentional, fraudulent, willfully and wantonly
reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

EIGHTH CAUSE OF ACTION
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

128. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs
as if fully set forth at tength herein,

129.New York law implies a covenant of good faith and fair dealing in all contyacts.!? This
provision “precludes each party from engaging in conduct that will deprive the other party of the
benefits of their agreement.” Leberman v. Join Blair & Co., 880 F.2d 1555, 1560 (2d Cir.1989).
The duty is violated when one party acts to deprive the other of the right to receive the benefits
under the agreement. 4

130. Defendant has failed to act in good faith in its execution and misrepresentations regarding the
Settlement agreement. Defendants were fully aware of the conduct which they were undertaking
to replicate and create shadow systems and trading programs, reverse-engineering the Plaintiff's

IP, and intended to material conceal and obfuscate that activity from Plaintiff, to deny them the

fruits of their labor, and their correct royalties, profits sharing and compensation.

8 Carvel Corp. v, Diversified Management Group, fnc., 930 F.2d 228, 230 (2d Cir.1991); Russo
v. Banc of America Securities, LLC, 2007 WL 1946541 *6 (S.D.N-Y,2007).

4 E*TRADE Financial Corp. v. Deutsche Bank AG, 631 F Supp.2d 313, 388 (S.D.N_Y.2009); Don
King Productions, *226 Inc. v. Douglas, 742 F.Supp. 741, 767 (S.D.N.Y.1990), Schroeder v.
Capital One Fin. Corp., 665 F. Supp. 2d 219, 225-26 (E.D.N_Y. 2009)

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131. Implicit in every contract is a covenant of good faith and fair dealing which encompasses any
promise that a reasonable promisee would understand to be included!* Even if a party is not in
breach of its express contractual obligations, it “may be in breach of the implied duty of good faith
and fair dealing ... when it exercises a contractual right as part of a scheme to realize gains that the
contract implicitly denies or to deprive the other party of the fruit (or benefit) of its bargain” !®
132. Defendants acted with bad faith and with deliberate intent to circumvent his obligations under
the agreements to deprive and or significantly reduce Plaintiffs’ of their share of the incentive
compensations and bonuses and other deprivation of commercial benefits that were relied upon as
consideration of the bargain. A new arrangement to deprives it of the fruit, or benefit, of its labor
is considered bad faith. 1”

133. Further Defendants violated an obligation that is not inconsistent with the other terms of the

previous Engagement Contracts between the Defendants and the Plaintiffs. !

5 (see New York Univ. v. Continental Ins. Co., 87 N.Y.2d 308, 318, 639 N.Y.S.2d 283, 662
N.E.2d 763; Dalton v. Educational Testing Serv., 87 N.Y.2d 384, 389, 639 N.Y.S.2d 977, 663
N.E.2d 289; Murphy v. American Home Prods. Corp., 58 N.Y.2d 293, 304, 461 N.Y.S.2d 232,
448 N.E.2d 86; Outback/Empire f, Ltd. Partnership v. Kamitis, Inc., 35 A.D.3d 563, 825
N.Y.S.2d 747).

6 (Marion Scott Real Estate, Inc. v. Rochdale Vil, Inc., 23 Misc.3d 1129[A], *8, 2009 WL
1425252, 2009 NLY. Slip Op. 50997[U]; see Moran v. Erk, 11 N-Y.3d 452, 456, 872 N-Y.S.2d
696, 901 N.E.2d 187; Dalton v. Educational Testing Serv., 87 N.Y.2d at 389, 639 NLY.S.2d 977,
663 N.E.2d 289), Elmhurst Dairy v Bartlett Dairy, No. 12116/11, 2011-08774, 949 N-Y.S.2d
115, 118, 2012 N-Y. Slip Op. 05720, 2012 WL 3024000 (N.Y.A.D. 2 Dept., July 25, 2012)

Y (see Moran v. Erk, 11 N.Y .3d at 456, 872 N.Y.S.2d 696, 901 N.E.2d 187; see Dalton v.
Educational Testing Serv., 87 N.Y .2d at 389, 639 N.Y.S.2d 977, 663 N.E.2d 289; see also UCC
2-306[2]; NCC Sunday Inserts, Inc. v. World Color Press, Inc., 759 F.Supp. 1004, 1009).
Elmhurst Dairy v Bartlett Dairy, No. 12116/11, 2011-08774, 949 N-Y.S.2d 115, 118, 2012 LY.
Slip Op. 05720, 2012 WL 3024000 (N.Y.A.D. 2 Dept., July 25, 2012)

18 (see Dalton v. Educational Testing *785 Serv., 87 N.Y 2d at 389, 639 N.Y.S.2d 977, 663
N.E.2d 289; Phoenix Capital Invs. LLC v. Ellington Met. Group, L.1.C., 51 A.D.3d 549, 550,
859 N.Y.S.2d 46), and it is not duplicative of the cause of action alleging breach of contract.
Elmhurst Dairy v Bartlett Dairy, No. 12116/11, 2011-08774, 949 N.Y.S.2d 115, 118-19, 2012
N.Y. Slip Op. 05720, 2012 WL 3024000 (N.Y.A.D. 2 Dept., July 25, 2012)

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134. Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

135. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly
reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

NINTH CAUSE OF ACTION
BREACH OF IMPLIED-IN-FACT CONTRACT

136. Plaintiffs repeat and reallege cach and every allegation set forth in the foregoing paragraphs
as if fully set forth at length herein.

137. Subject to the disclosures subsequent to the Settlement Agreement that the parties would
consummate a purpose and business relation of mutual benefit, the parties initiated an Implied
Agreement in or around September 2016. But for the express restrictions and disclosures under
the Implied Agreement, Timetrics would not have entered into the Implied Agreement or
performed services thereunder. This contract was enacted upon by the parties in action, and
memorialized in various email exchanges, and payments made by Defendant Larkin personally.
138. For a contract to exist, it need not be memorialized in a written form. Even if an express
written contract does not exist, a contract may be “implied in fact” as a result of “an inference from

the facts and circumstances of the case.” ° “[A]lthough not formally stated in words,” an implied-

9 Leibowitz v. Cornell Univ, 584 F.3d 487, 506 Qd Cir. 2009) (quoting Jemzura vy. Jemzura, 36
N.Y.2d 496, 369 N.Y.S.2d 400, 330 N.E.2d 414, 420 (1975)). However, “fa} contract cannot be
implied in fact where there is an express contract covering the subject matter involved.” Saeed v.
Kreutz, 606 F. App'x 595, 597 (2d Cir. 2015) (summary order) (quoting Julien J. Studley, Ine. v.
NY, News, Inc,, 70 N.Y .2d 628, 518 N.Y.S.2d 779, 512 N.E.2d 300, 301 (1987)). “The terms of
an implied-in-fact contract turn on the conduct of the parties.” Beth Israel Med. Ctr. yv. Horizon
Blue Cross & Blue Shield of N.J., Inc., 448 F.3d 573, 582 (2d Cir. 2006) (citing Watts v.
Columbia Artists Mgmt, Ite., 188 A.D.2d 799, 591 N.Y.S.2d 234, 236 (3d Dep't 1992).

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in-fact contract “is derived from the presumed intention of the parties as indicated by their
conduct.” fd. at 506-07.

139. The parties operated under an implied-in-fact contract—the Implied Agreement—pursuant to
which Defendants committed to contribute various capital contributions and other renumeration to
Plaintiff Kumaran and Plaintiffs . Plaintiffs also provided services, work product, disclosed
confidential information in exchange for Defendant’s compensation schedules, which were also
made personally and individually by Larkin, on behalf of Defendants,

140. The parties operated under the Implied Agreement for about six months, during the period
September 2016 — March 2017, subsequent to the Settlement Agreement, where Plaintiffs provided
services, software license fees, and disclosed other Plaintiff’s IP and were Defendant’s had started
making payments to Plaintiffs.

141. This alleged course of conduct, accepted as true, suffices to establish the existence of an
implied-in-fact contract.?°

142. There was no express contract regarding the services, software licensee being provided by
Plaintiffs during the period of September 2016 — March 2017, and services were provided relied
on the Implied Contract.” Under New York law, the “manifestation or expression of assent

necessary to form a contract may be by word, act, or conduct which evinces the intention of the

parties to contract.” Leibowitz v. Cornell Univ, 584 F.3d 487, 507 (2d Cir. 2009) (citing Maffea v.

0 See Brown Bros. Elec. Contractors, Inc. v. Bean Consir. Corp., 4) N.Y 2d 397, 393 N_Y.S.2d
350, 361 N.E.2d 999, 1001 (1977) (holding that courts should look to “objective manifestations
of the intent of the parties as gathered by their expressed words and deeds” to determine the
existence of a binding contract).

4 See Nwachulwvu v. Chem, Bank, No. 96-CV-5118 (KMW), 1997 WL 441941, at *8 (S.D.NLY.
Aug, 6, 1997) (observing that, under New York law, a “plaintiff's assertion of a claim based
upon an implied contract” may only be dismissed if “[t]he existence of an express contract” has
been definitively established).

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Ippolito, 247 A.D.2d 366, 367 (N.Y. 2d Dep't 1998)). Thus, “[a] party’s conduct indicates assent
when he intends to engage in the conduct and knows or has reason to know that the other party
may infer from his conduct that he assents.” Jd. (citation omitted).

143. Plaintiffs has alleged, including based on the parties’ conduct, the existence of at least an
implied agreement with Defendants’ under which Defendants would compensate Plaintiffs for
their ongoing provision of services, software, design improvements, hedging techniques and IP
disclosures to Defendants.

144. Plaintiffs performed their obligations under the Implied Agreement but Defendants breached
the Implied Agreement in multiple ways including but not limited to making payments to Plaintiffs
under the Agreements. Plaintiffs have suffered injury in lost revenue, failure to receive
compensation for its services, software and incentive compensations, and salary bonuses, and
losses in the capital contributions.

145. Defendant’s conduct was also a breach of the duty of commercial reasonableness is a breach
of contract claim.”

146. Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

147. Defendants, jointly and severally, conduct was intentional, dishonest, fraudulent, wilful and
intentional to harm Plaintiffs, malicious, and/or grossly negligent, which justifies an award of
punitive damages,

SENT CAUSE OF ACTION
FRAUDULENT INDUCEMENT OF IMPLIED-IN-FACT CONTRACT

” See Beninati v. F.D.LC., 55 F. Supp. 2d 141, 147 (E.D.NLY, 1999)

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148. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs
as if fully set forth at length herein;

149. Under New York law, a plaintiff must allege four elements to state a claim for fraudulent
inducement: (1) a material misrepresentation of a presently existing or past fact; (2) an intent to
deceive; (3) reasonable reliance on the misrepresentation by the plaintiff; and (4) resulting
damages. [pcon Collections LLC v. Costco Wholesale Corp., 698 F.3d 58, 62 (2d Cir, 2012).

150. Plaintiffs allege that Larkin, acting in his capacity as CEO of Northland and President of
Hedge Solutions, and Northland and Hedge, falsely made material representations to Plaintiffs in
or around September 2016, at specific dates, times and places as alleged herein, and thereafter,
that Defendants would honor numerous compensations agreements, salary bonus structures and
reinstatement of software license fees, in exchange for services, and substantial profit sharing in
hedging improvements. In making these statements, Larkin was acting as President of Hedge
Solutions and CEO of Northland Energy and was representing Northland as a whole.

151. Plaintiff alleges that in telephonic phone cafls and emails that occured on September 8" 2018,
and September 9", 2018 and numerous other days and times in the month of September and
October 2016, Richard M. Larkin phoned Plaintiffs from either his office or home located at 32
Helen Court, Goffstown, New Hampshire using his cellphone 603-315-3908 to Ms. Kumaran who
received the phone calls on the telephone number 212-431-5098 who was located at her home and
office located at 240 West 74" Street, New York, NY. 10023.

152. Piaintiff also alleges that numerous telephone communications occurred during the period
September 2017 and December 2018, including meetings at the Marriott Hotel, located in New

York City and at the Tavern on the Green in New York City.

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153.Defendants have a long standing policy of deceptive business practices, and concealing
information from others, and a record of regulatory and compliance violations. Manifesting this
pattern of deceit, Larkin, acting in his capacity as CEO Of Northland and President of Hedge
Solutions, these material representations were false, as Larkin was concealing his representations
and business transactions from other employees, officer, directors, including the Controller, CCO
and others.

154. These misrepresentations were made for the purpose of inducing Plaintiffs entering into the
Implied Agreement and to continue to disclose more IP, trade secrets, and confidential information
and continue providing services, software, design improvements, contributions to Defendants, that
were subsequent to the Settlement. Defendants are therefore liable for fraudulent inducement.
155. Further, reliant on the representations, Plaintiff's continued to provide services, software and
other upgrades, design and recommendation in hedging strategies, and disclose IP, Confidential
Information and Trade Secrets, to Defendants. Further, Plaintiffs reasonably relied on Larkin’s
representations in deciding to enter into the Implied Agreement, and proceeding to provide
services, software, risk management and hedging upgrades and techniques, disclose further IP, and
dilute its time management from the other activities to assist Defendant’s business, reliant on the
cashflow and revenue incentive compensations that were promised by Defendants.

156. Plaintiff's had been engaged by Defendants before for a period of about four (4) years, and
reasonably expected these payments to be made, under the terms of the previous Software License
Agreements, and Consulting Services agreements which were to be reinstated.

157. Given the short deadlines that Defendants represented were for the trading live during the

months of September 2016-March 2017, Plaintiffs accelerated its timeline to provide services,

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software, risk management and hedging techniques and improvements of financial value to
Defendants reliant on the compensations schedules.

158. Further with reckless disregard for the truth, Defendants had no intention of making payments
to Plaintiffs, as Larkin was not willing to comply with the FCM’s regulatory compliance laws, of
mandatory reporting of CTA’s, and the Managed Account with full and transparent disclosures of
incentive payments, and it would not have been possible.

159. Therefore Defendants knew at the onset that his representations were false, and that
compensations through Northland and Hedge could not have been made, and intended to deceive
Plaintiffs to turn over more IP, Confidential Information, provide services and proceed with the
Implied Agreement, while all the time increasing profits and revenue to Defendants.

160. Plaintiffs have been harmed by non-payment of the various compensations contemplated in
the Implied Agreements, while Defendants have retained the benefits from and profited from the
services, discounts, software license and disclosure of IP provided to them thereunder.

161. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has
caused Plaintiffs damages and irreparable harm.

162. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

BREACH OF CONTRACT (TIMETRICS NDA)

163. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,
supra, as if fully set forth at length herein.
164. The Timetrics NDA dated March 22"4, 2011 was a valid and binding contract upon all parties,

including Defendants, supported by adequate consideration.

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165, Plaintiffs fully performed ail duties and obligations under the contract.

166, Defendants represented and warranted that they it would only use Plaintiffs IP for mutual
benefit, would not retain, or use, or modify, reverse engineer, or otherwise misappropriate
Plaintiffs’ IP, as previously and further described by the full language of the contract contained in
Section 2, Section 3 and otherwise therein.

167. Defendani’s materially breached the contract by viclating the several provisions concerning
the Plaintiffs’ IP and specifically by retaining, using, modifying, reverse engineering, and in other
Ways misappropriating Plaintiffs’ IP, in derogation of their express representations contained
within the contract, including but not limited to those under Section 3.a and 3.b.

168. Defendants, through their retention, modification, and use of misappropriated Plaintiffs’ IP,
profited while engaging in trading commodities and futures, as a direct and proximate result of the
improper use of the Plaintiffs’ IP, and Plaintiffs improper development and modification thereto,
those profits were in an amount not yet fully ascertained, but believed to be not less than $1 million
to be determined at trial.

169. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,
but believed to be in excess of $1million dollars.

170. In the alternative, by reason of the foregoing, Plaintiff is entitled to disgorgement of any and
all profits, improperly derived from Defendant’s breach of contract, in an amount to be determined
at trial, but believed to be in excess of $1 million.

171. Defendants, jointly and severally, have wrongfully profited from its misappropriation and
has caused Plaintiffs damages and irreparable harm.

172. Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.

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RELIEE REGUESTID
WHEREFORE, Plaintiffs The A Star Group, Inc d/b/a Timetrics and Samantha Siva Kumaran

demands that this Court render a judgment against Defendants, jointly and severally;
173. Enjoining Defendants, their offices, employees, agents, successors, and all other persons in
active concert or participation with them, from:

a, Continuing to use or engaging in any and all trading activities of commodities or
futures products, which are in any way derivatives of the possession, use or derivative
modification, development, or reverse-enginecring of Plaintiffs’ IP, as described in the
Settlement Agreement.

174. Awarding:

a. Compensatory damages in an amount to be determined at trial, but believed to be
in excess of $1 million;

b. Costs and disbursements;

c. Attorneys fees, in an amount to be determined, as provided for in the Settlement
should Plaintiffs be the prevailing party;

d. Exemplary damages including but not limited to all special, indirect,
punitive, consequential or other damages; [INSERT]

e. Pre-judgment and post-judgment interest; and

f. Such other relief as is just and proper.
PLAINTIFF DEMANDS TRIAL BY JURY
Dated: New York, New York

September 6th 2019.

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JS 44C/SDNY
REV. 06/01/17

United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet

SAMANTHA F'VA Kum ARAN
THE A STAR GROUP, (WC

PLAINTIFFS

Document 1

Filed 09/06/19

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER

DEFENDANTS

RICHARD

ATTORNEYS (IF KNOWN)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

BREACH GF CONTRACT , SETTEMENT

Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? Nofx[Yes Oo

If yes, was this case Vol.[] Invol. [_] Dismissed. No[_] Yes [_] Ifyes, give date

IS THIS AN INTERNATIONAL ARBITRATION CASE?

No

(PLACE AN [x] IN ONE BOX ONLY)

CONTRACT

[ ] 110 INSURANCE

[ ] 120 MARINE

[ ] 130 MILLER ACT

[ ] 140 NEGOTIABLE
INSTRUMENT

{ ] 150 RECOVERY OF
OVERPAYMENT &
ENFORCEMENT
OF JUDGMENT

( ) 181 MEDICARE ACT

{ ) 152 RECOVERY OF
DEFAULTED
STUDENT LOANS
(EXCL VETERANS)

[ } 153 RECOVERY OF
OVERPAYMENT
OF VETERAN'S
BENEFITS

[ ] 160 STOCKHOLDERS
SUITS

KAi00 OTHER

CONTRACT

[1195 | CONTRACT
PRODUCT
LIABILITY

[ ]196 FRANCHISE

REAL PROPERTY

[ ]210 LAND
CONDEMNATION

{ ]220 FORECLOSURE

[ ]230 RENT LEASE &
EJECTMENT

[ ]240 TORTS TO LAND

[ ]245 TORT PRODUCT
LIABILITY

{ ]290 ALL OTHER
REAL PROPERTY

TORTS

PERSONAL INJURY

[ 1310 AIRPLANE

[ ]315 AIRPLANE PRODUCT
LIABILITY

[ ]320 ASSAULT, LIBEL &
SLANDER

[ ]330 FEDERAL
EMPLOYERS’
LIABILITY

( ] 340 MARINE

{ ]345 MARINE PRODUCT
LIABILITY

[ ] 350 MOTOR VEHICLE

{ ]355 MOTOR VEHICLE
PRODUCT LIABILITY

{ 1360 OTHER PERSONAL
INJURY

[ ]362 PERSONAL INJURY -
MED MALPRACTICE

ACTIONS UNDER STATUTES
CIVIL RIGHTS

[ ]440 OTHER CIVIL RIGHTS
(Non-Prisoner)

[ ] 441 VOTING

[ ]442 EMPLOYMENT

[ 1443 HOUSING!
ACCOMMODATIONS

{ ]445 AMERICANS WITH
DISABILITIES -
EMPLOYMENT

[ ]448 AMERICANS WITH
DISABILITIES OTHER

[ ] 448 EDUCATION

Check if demanded in complaint:

DEMAND §

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

OTHER

& Case No.
Yes []
NATURE OF SUIT
ACTIONS UNDER STATUTES
PEREOMAL INURY FORFEITURE/PENALTY BANKRUPTCY
[ ] 367 HEALTHCARE
PHARMACEUTICAL PERSONAL [ ]625 DRUG RELATED [ ] 422 APPEAL
INJURY/PRODUCT LIABILITY“ ceizupe OF PROPERTY 28 USC 158
[ ]365 PERSONAL INJURY 21 USC 881 [ ] 423 WITHDRAWAL
PRODUCT LIABILITY [ ]690 OTHER 28 USC 157
[ ]368 ASBESTOS PERSONAL
INJURY PRODUCT
LIABILITY PROPERTY RIGHTS
PERSONAL PROPERTY [ ]820 COPYRIGHTS
[ ] 830 PATENT

[ ]370 OTHER FRAUD
[ ]} 374 TRUTH IN LENDING

{ 1380 OTHER PERSONAL
PROPERTY DAMAGE

[ ]385 PROPERTY DAMAGE
PRODUCT LIABILITY

PRISONER PETITIONS

[ ] 463 ALIEN DETAINEE

{ ]510 MOTIONS TO
VACATE SENTENCE
28 USC 2255

[ ]530 HABEAS CORPUS

{ ]535 DEATH PENALTY

[ ]540 MANDAMUS & OTHER

PRISONER CIVIL RIGHTS

[ ] 550 CIVIL RIGHTS
[ 1855 PRISON CONDITION
] 560 CIVIL DETAINEE

AGREEM ENT

{ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
[ ] 840 TRADEMARK

SOCIAL SECURITY
LABOR [ ] 861 HIA (13958)
{ ] 862 BLACK LUNG (923)
{ ]710 FAIR LABOR [ ] 863 DIWCIDIWW (405(g))
STANDARDS ACT ___[ ] 864 SSID TITLE XVI
[ ] 720 LABORAIGMT [ ] 865 RSI (405(9))
RELATIONS
[ ] 740 RAILWAY LABOR ACT

(] 751 FAMILY MEDICAL FEDERAL TAX SUITS

LEAVE ACT (FMLA)

[ ]790 OTHER LABOR
LITIGATION

[ ]791 EMPL RET INC
SECURITY ACT (ERISA)

[ ] 870 TAXES (U.S. Plaintiff or
Defendant

[ ] 871 IRS-THIRD PARTY
26 USC 7609

IMMIGRATION

[ ]462 NATURALIZATION
APPLICATION

{ ]465 OTHER IMMIGRATION
ACTIONS

CONDITIONS OF CONFINEMENT

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NORTHLAND ENERGY TRADING
NEDGE sown ONS, (NC
mM. LA Aten

Judge Prewgasty Assig ned

OTHER STATUTES
[ ] 375 FALSE CLAIMS
[ ] 376 QUI TAM

{ ] 400 STATE
REAPPORTIONMENT

{ ) 410 ANTITRUST

[ ]430 BANKS & BANKING

[ ] 450 COMMERCE

[ ]460 DEPORTATION

[ ]470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[ ]480 CONSUMER CREDIT

[ ]490 CABLE/SATELLITE TV

[ ] 850 SECURITIES!
COMMODITIES/
EXCHANGE

[ ] 890 OTHER STATUTORY
ACTIONS
[ ] 891 AGRICULTURAL ACTS

[ ] 893 ENVIRONMENTAL
MATTERS
[ ]895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
[ ] 899 ADMINISTRATIVE
PROCEDURE ACTIREVIEW OR
APPEAL OF AGENCY DECISION

[ ] 950 CONSTITUTIONALITY OF
STATE STATUTES

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

IF SO, STATE:

JUDGE

DOCKET NUMBER

Check YES only if
JURY DEMAND:

anded in complaint
YES LNOo

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
Case 1:19-cv-08345-MKV-RWL Document1 Filed 09/06/19 Page 46 of 46

(PLAGE AN x IN ONE BOX ONLY) ORIGIN
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Proceeding State Court from Reopened (Specity Distict) (Transfesed) Magistrate Judge

Appellate
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[] b, Atleast one party

[18 Muttidistrict Litigation (Direct Fite)

is pro se,
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
oO 1 U.S. PLAINTIFF O 2 U.S. DEFENDANT CI 3 FEDERAL QUESTION N4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X} in one box for Plaintiff and one box for Defendant)

PYF DEF PTF DEF PTF .DEF
CITIZEN OF THIS STATE Kt []1 CITIZEN OR SUBJECT OF A []3[}3 INCORPORATED and PRINCIPAL PLACE []5 [fet
/ / FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE ‘
CITIZEN OF ANOTHER STATE [ ]2 4 2 INCORPORATED or PRINCIPAL PLACE ‘K [14 FOREIGN NATION {36 []6
° OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES} AND COUNTY (IES)
SAMANTHA SWA EUMNAPRAN

THE A STAR GROUP, ING

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DEFENDANT(S) ADDRESS(ES} AND COUNTY(IES)
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DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: =] WHITE PLAINS MANHATTAN

DATE SIGNATURE OF ATTORNEY OF RECORD ADMITTED TO PRACTICE IN THIS DISTRICT
| PRO SED: | ] YES (DATE ADMITTED Mo. Yr. }
RECEIPT # 0 FAIRE’ Bar Code #
. MF
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.
Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)

